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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     Jacksonville Division
                                    www.f1tnb.uscourts.gov

In re:                                              Chapter 11

RMS TITANIC, INC. eta/..                            Case No. 3:16-bk-002230-PMG

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OFFICIAL COMMITTEE OF EQUITY                        Adv. Case No.: 18-ap-00064-PMG
SECURITY HOLDERS OF PREMIER
EXHIBITIONS, INC.,

         Plaintiff,

MARK    A.    SELLERS,   DOUGLAS
BANKER, RICHARD KRANIAK, JACK
H. JACOBS, DAOPING BAO, SELLERS
CAPITAL, LLC, and SELLERS CAPITAL
MASTER FUND, LTD.,

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         PLAINTIFF'S EX PARTE MOTION TO STAY AND SCHEDULE A STATUS
                       CONFERENCE ON NEGATIVE NOTICE

                                   NOTICE OF OPPORTUNITY TO
                                OBJECT AND REQUEST FOR HEARING

                 Pursuant to Local Rule 2002-4, the Court will consider the relief requested
                 in this paper without further notice or hearing unless a party in interest
                 files a response within fourteen (14) days from the date set forth on the
                 attached proof of service, plus an additional three days for service if any
                 party was served by U.S. Mail.

                 If you object to the relief requested in this paper, you must file a response
                 with the Clerk of the Court at 300 North Hogan Street, Suite 3-150,
                 Jacksonville, Florida 32202, and serve a copy on the movant's attorney,
                 Robert P. Charbonneau, 501 Brickell Key Drive, Suite 300, Miami,
                 Florida 33131, and any other appropriate persons within the time allowed.
                 If you file and serve a response within the time permitted, the Court will
                 either schedule and notify you of a hearing or consider the response and
                 grant or deny the relief requested without a hearing.


                                             Jl\?gentis
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                      If you do not file a response within the time permitted, the Court
              will consider that you do not oppose the relief requested in the paper, will
              proceed to consider the paper without further notice of hearing, and may
              grant the relief requested.

       Plaintiff, the Official Committee of Equity Security Holders of Premier Exhibitions, Inc.

(the "Equity Committee" or "Plaintiff'), by and through the undersigned counsel, and pursuant

to Local Rule 7001-1(k), Local Rule 2002-4, the Court's May 25, 2018 Order Granting

Emergency Motion of the Official Committee of Equity Security Holders for Entry of an Order

Granting Derivative Standing and Authority to Prosecute and Settle Certain Claims on Behalf of

the Debtors' Estates (the "Order") [D.E. 1036 in Case No. 3:16-bk-02230-PMG (the

"Bankruptcy Case"], and other applicable law, moves the Court on an ex parte basis to schedule

a status conference and stay this proceeding until after the status conference. In support, the

Equity Committee states as follows:

       1.     The Equity Committee initiated this proceeding (the "Adversary Proceeding") by

filing its Adversary Complaint and Demand for Jury Trial [D.E. 1] on June 4, 2018, pursuant to

the derivative and exclusive standing conferred upon it by the Court in the Order.

       2.     The Order provides that the Court "shall schedule a status conference

approximately sixty (60) days from the date the Adversary Proceeding is commenced" and that

the Adversary Proceeding "shall be stayed" in the interim, except for the following:

               a.     the Equity Committee's seeking entry of an ex parte order
               holding the Adversary Proceeding in abeyance pending a status
               conference to be separately scheduled and noticed by the Court
               (the "Ex Parte Order");

               b.      the Equity Committee's effectuating service of a complaint
               in the Adversary Proceeding and the Ex Parte Order; and

               c.      the Equity Committee's engaging in settlement negotiations
               by the parties in the Adversary Proceeding.
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[D.E. 1036, ~~3 , 5, in the Bankruptcy Case.]

       WHEREFORE, the Plaintiff respectfu lly requests this Court to schedule a status

conference approximately sixty (60) days from June 4, 20 18, the date this Adversary Proceeding

was initiated, to stay this Adversary Proceeding in the interim except with respect to the

activities specifically excluded in the Order, and to grant the Plaintiff such further and additional

relief as the Court deems just and appropriate.

                                                Respectfully submitted,

                                                AGENTIS, PLLC
                                                Special Counsel for Plaintiff
                                                50 I Brickell Key Drive, Suite 300
                                                Miami, Florida 33 13 1
                                                Tel.: 305.722.2002
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                                                By: ________~~--------------
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

transmission of Notices of Electronic Filing generated by CM/ECF to those parties registered to

receive electronic notices of filing in this case and via electronic mail upon the parties listed on

the below Service List, on June ;;--:;o-18.


                                      By:
                                              Robert P. harbonneau
                                              Florida Bar No.: 968234
                                              rpc@agentislaw.com


Service List

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Emai l: acurley@robinsoncurley.com

Defendant, Jack H. Jacobs
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